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November 6, 2020
                                                                             USDC SDNY
VIA ELECTRONIC CASE FILING                                                   DOCUMENT
                                                                             ELECTRONICALLY FILED
Hon. Mary Kay Vyskocil, U.S.D.J                                              DOC #:
United States District Court                                                 DATE FILED: 11/9/2020
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:      Baten et al v. 116 West 32 Cafe LLC et al. – 1:19-cv-10873-MKV

Your Honor:

This firm has submitted a Stipulation and Proposed Order of Substitution of Counsel, in addition to
the Declaration of Richard E. Freeman III, in support of defendants 116 West 32 Café LLC d/b/a
Café R, Yhung Gyung Kang and Chong Ye Yang’s (“Defendants”) application for a substitution of
counsel in the above referenced matter.

While that application is still pending, we respectfully submit the instant letter motion for Your
Honor’s consideration.

Pursuant to my conversations with Defendants’ current counsel and Plaintiffs’ counsel, as well as
upon reviewing the court docket in this matter, it is my understanding that while the bulk of
document discovery has been exchanged, there remains formal written responses to the demands
made by the parties, and in particular requests for interrogatories, documents and admissions from
Plaintiff, and second sets of interrogatories from Defendants, that require responses.

Plaintiffs’ counsel has consented to an extension of time for Defendants to respond to those requests
until December 1, 2020 while Defendants’ incoming counsel reviews and familiarizes itself with the
file, and this firm has consented to Plaintiffs’ counsel’s request to respond to Defendants’
outstanding requests, with the understanding that counsel for both parties will continue to meet and
confer again on these outstanding responses next week. To the extent that the individual response
dates for certain documents need to be extended by court order, by way of this letter motion both
Plaintiffs’ counsel and Defendant’s incoming counsel jointly request an extension of same until
December 1, 2020.

In addition, by further way of this letter motion, both Plaintiffs and Defendants also respectfully
request that the remainder of all other discovery be stayed until after the Settlement Conference
taking place on January 6, 2021, after which time the parties will report to the court concerning the
status of this matter and advise whether additional and continued discovery is needed. The
foregoing request is made as the parties currently believe it may be possible to achieve a resolution
at, or shortly after, the Settlement Conference and, as such, the cost, expense and difficulty
coordinating several party depositions remotely may be avoided altogether. Inasmuch as the

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 requested stay of discovery is for only approximately two (2) months, we do not believe it will have
 any material impact on the case or Settlement Conference, other than to potentially avoid the
 unnecessary expenditure of legal fees in the interim.

 Moreover this firm, as Defendants’ incoming counsel, will need time to get familiarized with the
 file in advance of the current December 4, 2020 fact discovery deadline, such that conducting
 depositions of all parties within the next four (4) weeks and in light of the continued logistical
 considerations COVID-19 presents and the upcoming Thanksgiving Holiday, would not be practical
 or possible without prejudicing Defendants.

 Accordingly, counsel for both parties respectfully submit the instant application for a brief stay of
 discovery, until January 13, 2021.

 This is the first such application for a temporary stay of discovery. We thank the court for its time
 and the consideration of this request.

 Respectfully submitted,

 RHEEM BELL & FREEMAN LLP                              LAW OFFICE OF WILLIAM CAFARO

        /s/ Richard E. Freeman III                            /s/ Amit Kumar
 _____________________________________                 ________________________________
 By: Richard E. Freeman III, Esq. (RF 2098)            By: Amit Kumar, Esq.
 Proposed Incoming Counsel for Defendants              Attorneys for the Plaintiffs as well as
                                                       the Putative Class and Collective




The request to stay discovery is DENIED. The Court will not stay discovery deadlines solely because of
the Parties' participation in mediation. Because of the appearance of new counsel, the deadline for
discovery is extended to January 8, 2020. Intermediate dates for responding to specific discovery requests
may be agreed-to by the Parties. Further requests for extension of discovery are not likely to be granted
absent good cause.

Further, the Parties are ordered to appear at a Post-Discovery Conference on January 20, 2021 at 11:00AM
in Courtroom 18C of the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, New York.
The Parties are directed to review the Court's Individual Practices for information regarding submissions in
advance of the conference. SO ORDERED.

                                                   11/9/2020




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